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 8                             IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             )               CR No. 05-167 WHA
                                           )
12                     Plaintiff,          )
                                           )               ORDER RE: APPOINTMENT
13   v.                                    )               OF COUNSEL
                                           )
14   ROBERT CALLOWAY                       )
                                           )
15                     Defendant.          )
     _____________________________________ )
16

17            Good cause appearing and pursuant to 18 U.S.C. § 3005, John Cline is designated learned

18   counsel for Robert Calloway in the above entitled indictment.                     S DISTRICT
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19            It is so ORDERED.
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20   Dated:     November 7, 2005                             __________/S/___________________   lsup
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                                                                               Judge W
                                                                  William H. Alsup
                                                                                                                FO
                                                                          RT




21                                                           United States District   Judge
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              I hereby attest that I have on file all holograph signatures for any signatures indicated by a
23
     "conformed" signature (/S/) within this e-filed document.
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     ORDER
